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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           Case No. 8:04CR332
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )                   ORDER
                                            )
LORA KEMPTAR,                               )
                                            )
                    Defendant.              )



      The defendant, by and through her counsel of record, Michael J. Tasset, has moved

the Court to allow the defendant to extend her reporting date to the Bureau of Prisons.

Filing No. 43. For good cause shown, the Court shall extend the defendant’s reporting

date to November 1, 2005.



      IT IS HEREBY ORDERED that the defendant’s motion to extend date, Filing No. 43,

is granted, and the defendant shall report to the facility designated by the Bureau of

Prisons on November 1, 2005.


      DATED this 31st day of August, 2005.


                                                  BY THE COURT:


                                                  s/Joseph F. Bataillon
                                                  JOSEPH F. BATAILLON, JUDGE
                                                  UNITED STATES DISTRICT COURT
